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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                                       VIOLATIONS:

                                                                  18 U.S.C. § 1349
                   v.                                             Mail Fraud Conspiracy

THOMAS J. KENNEDY,                                                26 U.S.C. § 7206(1)
                                                                  Filing a False
                                                                  Individual Tax Return
                                 Defendant.
                                                                  18 U.S.C. § 981 and
                                                                  28 U.S.C. § 2461
                                                                  Criminal Forfeiture

                                               INFORMATION

COUNT ONE:                (IS U.S.C.       §    1349 - Mail Fraud Conspiracy)

         The United States Attorney charges that:

                                    GENERAL ALLEGATIONS

         At all         times pertinent to Count One of                  this     Information,

unless otherwise specified:

         1.        The Boston Society of the New Jerusalem,                     Inc.    (\\BSNJ")

was a charitable religious non-profit corporation which operated

as   a        church      and    was       established         under    the     laws    of   the

Commonwealth            of     Massachusetts.              BSNJ     established     Bostonview

Corporation,            Inc.    (\\BVC")       for   the   specific purpose of holding

title         to   property      located at          130-140      Bowdoin     Street,   Boston,




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Massachusetts.         Together,     BSNJ     and   BVC    will      be    referred       to

herein as the "Church."

     2.      The    130-140    Bowdoin    Street     property        is    an     18-story

apartment    building with       145     residential       rental     units.         These

rental units generate net income of approximately $1.4 million

per year.     Each year since 2006, BVC has remitted all of its net

income to BSNJ.

     3.      In    approximately     2002,    Thomas      J.   KENNEDY,          defendant

herein     (hereinafter,      "KENNEDY" ),     became      a   member       of    BSNJ    to

obtain power and influence over the members, allowing him to be

placed in positions of authority within the Church, and thereby

providing access to the Church's financial holdings.

                                THE FRAUD SCHEME

     4.     As set forth below,          from at least as early as on or

about April 26, 2006, until at least on or about June 20, 2008,

at   Boston,        Canton,    and     elsewhere          in   the        District        of

Massachusetts,       KENNEDY    combined,      conspired,       confederated,            and

agreed with        "Co-conspirator #1"        and other persons,                 known and

unknown,    to devise a scheme and artifice to defraud and obtain

money and property by materially false and fraudulent pretenses,

representations,       and    promises      from    the    Church     and       others    by

using their positions within the Church to obtain access to the

Church's money and property.

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         5.     Sometime           prior       to     April        26,    2006,   KENNEDY        and     Co­

conspirator #1, whom KENNEDY had recruited to become a member of

BSNJ,     obtained physical possession of the following two checks:

(a)    MZA Trust check #310,                    in the amount of $34,000, payable to

\\Bostonview Corporationi"                      and     (b)    'AX.A     Equitable Life Insurance

Company       (hereinafter,              "'AX.A")     check #51191628,            in the amount of

$53,565.46,            payable            to     "The         Boston       Society      of       the     New

Jerusalem.      II      After           obtaining        possession          of   the      two      checks,

KENNEDY and Co-conspirator #1 conspired to devise a                                          scheme and

artifice to defraud the Church of its money.

         6.     In furtherance of that scheme, and with the intent to

defraud       the      Church           and    others,        on    or    about   April       26,      2006,

KENNEDY opened the following two bank accounts at Sovereign Bank

New      England,        75       State        Street,         Boston,      Massachusetts:               (1)

Account No.           ending 7872,             Boston Society of New Jerusalem Inc.,

P.O.      Box        961071   1    Boston,          Massachusetts,           02196      (hereinafter,

\\7872    Account")      i        and    (2)    Account No.              ending   2451,      BVC Trust,

Thomas        J.       Kennedy           Trustee,           Canton,         Massachusetts,             02021

(hereinafter,            \\2451          Account")            (collectively,         the      "Sovereign

Accounts").            KENNEDY had dominion and control over both P.O. Box

961071        and      the         Canton,          Massachusetts           address          (which      was

KENNEDY's residential address),                             neither of which was affiliated

with the Church in any way.

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        7.      On   or    about    April      26,   2006,       KENNEDY    deposited       MZA

Trust check #310 into the 2451 Account.                          On or about April 27,

2006,        KENNEDY      deposited      AXA    check   #51191628          into     the    7872

Account.        After the checks cleared,               KENNEDY      and Co conspirator

#1 shared the stolen proceeds.

        8.     As part of the fraud scheme,                  between April 26,             2006

and continuing throughout the course of this conspiracy, KENNEDY

and Co-conspirator #1 caused bank statements and other financial

documents        for      the    Sovereign      Accounts     to     be     mailed     to    the

addresses KENNEDY provided when he opened the accounts.                                    This

enabled KENNEDY and Co-conspirator #1 to conceal the fraud from

the Church and others.

        9.      In   addition       to   the   April    26   and     27,    2006    deposits

described above,               on the dates listed below,            KENNEDY,       with the

intent to defraud the Church and others                      1    caused the following

additional checks          1    each of which was payable to either BSNJ or

BVC, to be deposited into the 2451 and 7872 Accounts:

                a. May 21 2006 - $604.28 AXA Equitable check #51201035i

                b. September I, 2006 - $30,000 MZA Trust check #399;

                c. April 8, 2008     $10,000 US Bank convenience check
                   #83523 drawn on the account of Person #1;

                d. May 20, 2008 - $20,000 Bank of America check #10682
                   drawn on the account of Person #2i and

                e. June 20, 2008 - $20,000 Braintree Cooperative Bank
                   official check #612000088 purchased by Person #2.
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        10.    After the five additional above-described checks were

deposited       into      the    Sovereign           Accounts,           KENNEDY      and     Co­

conspirator #1 shared the stolen proceeds.

                            THE MAIL FRAUD CONSPIRACY

        11.    From at    least on or about April                       26,   2006,   until    at

least     on   or   about       June     20,       2008,     at    Boston,       Canton,      and

elsewhere in the District of Massachusetts,

                                 THOMAS J. KENNEDY,

defendant       herein,        with     the    intent         to        defraud,      combined,

conspired,      confederated,          and agreed with Co-conspirator #1 and

other persons,      known and unknown,               to devise the above described

scheme and artifice to defraud and obtain money and property by

materially false and fraudulent pretenses,                          representations,          and

promises.

        12.    For the purpose of executing and attempting to execute

the above-described scheme and artifice                           to defraud and obtain

money and property by materially false and fraudulent pretenses,

representations,         and    promises,          KENNEDY        and    Co-conspirator        #1

knowingly caused to be placed in a                         post office and authorized

depository for mail matter a thing to be sent and delivered by

the Postal Service,         to wit: bank statements and other financial

documents between 2006 and 2008 for the Sovereign Accounts.




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     All in violation of Section 1349 ,       Title 18 of the United

States Code.




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COUNT TWO:           (26 U.S.C.    §    7206(1) - Filing a False Individual
                     Tax Return)

      The United States Attorney further charges that:

      On or about May 18, 2006, in the District of Massachusetts,

                             THOMAS J. KENNEDY,

defendant herein, did willfully make and subscribe a 2004 United

States     Individual   Income Tax Return,               which was       verified by a

written      declaration   that        it    was    made    under    the    penalty     of

perjury,     and   which   KENNEDY          did    not   believe    to     be   true   and

correct as to every material matter, in that said Individual Tax

Return substantially understated his actual income and included

false expenses on both Schedule A for mortgage interest and on

Schedule     C for    commissions,          mortgage       interest,     bad    debt   and

legal and professional services.

      All in violation of Title 26,                  United States Code,         Section

7206 (1) .




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COUNT THREE:        (26 U.S.C. § 7206(1)           -   Filing a False Individual
                    Tax Return)

      The United States Attorney further charges that:

      On     or    about     April               2007,       in     the      District      of

Massachusetts,

                               THOMAS J. KENNEDY,

defendant herein, did willfully make and subscribe a 2006 United

States     Individual      Income Tax Return,            which was         verified by a

written      declaration     that    it    was    made       under     the    penalty     of

perjury,     and    which    KENNEDY      did    not     believe      to     be    true   and

correct as        to every material matter,              in that       said Individual

Income Tax Return substantially understated his                            actual     income

and included false expenses on both Schedule A for unreimbursed

employee      expenses,     and     on    Schedule       C   for     employee        benefit

program expenses,          legal    and professional              services,       accounting

services, and insurance.

      All in violation of Title 26,                United States Code,               Section

7206 (1) .




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COUNT FOUR:          (26 U.S.C. § 7206(1)           -   Filing a False Individual
                     Tax Return)

      The united States Attorney further charges that:

      On      or    about     April     15,       2008,     in      the     District     of

Massachusetts,

                                THOMAS J. KENNEDY,

defendant herein, did willfully make and subscribe a 2007 United

States     Individual       Income Tax Return,            which was       verified by a

written      declaration      that    it    was    made     under     the    penalty    of

perjury,      and    which    KENNEDY      did    not     believe    to     be   true   and

correct      as    to every material matter,              in that     said Individual

Income Tax Return substantially understated his actual income.

      All in violation of Title 26,                 United States Code,           Section

7206 (1) .




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COUNT FIVE:         (26 U.S.C.      §    7206(1)      -       Filing a False Individual
                    Tax Return)

      The United States Attorney further charges that:

      On     or    about     October         6,     2009,        in     the     District     of

Massachusetts,

                               THOMAS J. KENNEDY,

defendant herein, did willfully make and subscribe a 2008 United

States     Individual      Income Tax Return,                 which was       verified by a

written      declaration     that       it    was    made        under    the    penalty     of

perjury,     and    which    KENNEDY         did    not       believe    to     be   true   and

correct as        to every material matter                f    in that    said Individual

Income Tax Return substantially understated his actual income.

      All in violation of Title 26,                   United States Code,             Section

7206 (1) .




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FORFEITURE ALLEGATIONS:                    (18 U.S.C. § 981(a) (1) (C) and
                                           28 U.S.C. § 2461(c»

        1.         Upon    conviction         of     the    offense        in   violation       of    18

U.S.C.       §    1349, charged in Count One!

                                         THOMAS J. KENNEDY,

defendant herein,                   shall forfeit to the United States!                       pursuant

to    18         U.S.C.    §        981(a) (1) (C)    and       28   U.S.C.     §    2461(c),        any

property,           real       or    personal!       that   constitutes,            or   is    derived

from, proceeds traceable to the commission of the offense.

       2.          If any of the property described in paragraph 1 hereof

as being forfeitable pursuant to 18 U.S.C.                             §    981(a) (1) (C) and 28

U.S.C.       §     2461(c),         as a    result of any act or omission of                         the

defendant

       a.          cannot be located upon the exercise of due diligencei

       b.          has been transferred to,                 sold to,       or deposited with a
                   third party;

       c.          has been placed beyond the jurisdiction of this Court;

       d.          has been substantially diminished in valuei or

       e.          has been commingled with other property which cannot
                   be divided without difficultYi

it is the intention of the United States, pursuant to 28 U.S.C.

§    2461(c),       incorporating 21 U.S.C.                 §    853(p),    to seek forfeiture

of all other property of the defendant up to the value of the

property described in paragraph 1 above.



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    All pursuant to Title 18,          United States Code,   Section 981

and Title 28, United States Code, Section 2461(c).




                                         Respectfully submitted,

                                         CARMEN



                                 By:




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